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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    EPIC! CREATIONS, INC., et al., 1                            Case No. 24-11161 (BLS)

                       Debtors.                                 (Jointly Administered)

                                                                Re. D.I. 433, 474, 693 & 724

                               NOTICE OF SALE CLOSING AND
                      EFFECTIVE DATE OF AMENDMENT OF CASE CAPTION

        PLEASE TAKE NOTICE that, on May 20, 2025, the United States Bankruptcy Court for
the District of Delaware entered the Order (I) Approving the Sale of Epic! Creations, Inc.’s Assets
Free and Clear of Liens, Claims, Interests and Encumbrances, (II) Approving the Assumption and
Assignment of Executory Contracts and Unexpired Leases in Connection Therewith and (III)
Granting Related Relief [D.I. 724], (the “Sale Order”).2

        PLEASE TAKE FURTHER NOTICE that the Sale Order, provided that, upon the
closing of the sale of substantially all of Epic Creations, Inc.’s assets and the service of this notice,
the caption for the Debtor’s chapter 11 cases shall be amended as set forth below.

       PLEASE TAKE FURTHER NOTICE that, on May 27, 2025, the sale closed (the
“Closing”).

       PLEASE TAKE FURTHER NOTICE that, effective as of the Closing, the Trustee
proposes that the case captions in each of the Debtors’ jointly administered chapter 11 cases shall
be amended as follows:




1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, are: Epic! Creations, Inc. (9113); Neuron Fuel, Inc. (8758); and Tangible Play, Inc.
             (9331).
2
             Capitalized terms used but not defined herein shall have the meanings as set forth in the Sale Order.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re:                                         Chapter 11

 Saga Formations, Inc., et al.,1                Case No. 24-11161 (BLS)

                Debtors.                        (Jointly Administered)



          1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s
federal tax identification number, are: Saga Formations, Inc. (9113); Pajeau, Inc. (8758); and
Tangible Play, Inc. (9331).

 Dated: June 3, 2025                        PASHMAN STEIN WALDER HAYDEN, P.C.
        Wilmington, Delaware
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